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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

                    v.                               Civil Action No. 2:20-cv-1859

 $8,393.00 IN UNITED STATES
 CURRENCY,

                    Defendant.


                         VERIFIED COMPLAINT FOR FORFEITURE

       AND NOW comes the United States of America, by and through its counsel Scott W.

Brady, United States Attorney for the Western District of Pennsylvania, and David Lew, Assistant

United States Attorney for the Western District, and respectfully represents as follows:

       1.      This is a civil action in rem for forfeiture to the United States of $8,393.00 in

United States currency (the “Defendant Currency”) pursuant to 21 U.S.C. § 881(a)(6).

       2.      Jurisdiction is predicated upon 28 U.S.C. §§ 1345 and 1355. Venue is proper

under 28 U.S.C. §§ 1395 and 1355.

       3.      On December 19, 2019, the Drug Enforcement Administration (“DEA”) along

with other law enforcement executed a search warrant at the residence of Jordan Michael Carter

(“Carter”) in Pittsburgh, Pennsylvania.

       4.      During the execution of the search warrant, officers located, in an area of the

residence used as a bedroom, quantities of cocaine and marijuana, along with indicia of narcotics

trafficking, including three firearms and multiple cellular phones.




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       5.      Officers also recovered from the same area of the residence $8,393.00 in United

States currency (the “Defendant Currency”), which was located inside a lockbox with the

cocaine.

       6.      Carter agreed to be interviewed by investigators during the search of the

residence.

       7.      Carter admitted to participating in a drug-trafficking enterprise and provided

officers with details of the operation.

       8.      Carter admitted to trafficking in cocaine.

       9.      Carter further admitted that he was currently unemployed.

       10.     Based on the above-described investigation, investigators determined that the

Defendant Currency was intended to be furnished in exchange for a controlled substance and/or

represented proceeds of unlawful drug transactions.

       11.     The Defendant Currency was therefore seized by investigators pursuant to 21

U.S.C. § 881(a)(6).

       12.     Following the seizure, the DEA instituted administrative forfeiture proceedings

against the Defendant Currency. Carter filed a claim for the Defendant Currency in the

administrative forfeiture proceedings. As a result, the United States has instituted this civil

forfeiture action against the Defendant Currency.

       13.     Based on the foregoing, the Defendant Currency is forfeitable to the United States

pursuant to 21 U.S.C. § 881(a)(6) because it was furnished or intended to be furnished in

exchange for a controlled substance and/or constitutes proceeds traceable to an exchange for a

controlled substance and/or was intended to be used to facilitate any violation of the Controlled

Substances Act.



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       WHEREFORE, the United States respectfully requests that process of warrant in rem

issue for the arrest of the Defendant Currency; that Judgment of Forfeiture be entered in favor of

the United States for the Defendant Currency; and that the United States be granted such relief as

this Court may deem just and proper, together with the costs and disbursements of this action.



                                                     Respectfully submitted,

                                                     SCOTT W. BRADY
                                                     United States Attorney

                                                     /s/ David Lew
                                                     DAVID LEW
                                                     Assistant U.S. Attorney
                                                     700 Grant Street, Suite 4000
                                                     Pittsburgh, PA 15219
                                                     412-894-7482 (tel)
                                                     412-644-2644 (fax)
                                                     david.lew@usdoj.gov
                                                     PA ID No. 320338 (AFF)




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OJS 44 (Rev. 11/04)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM .)
I. (a)
                 PLAINTIFFS UNITED STATES OF AMERICA                                                                       DEFENDANTS $8,393.00 in U.S. Currency

   (b) County of Residence of First Listed                                                                                  County of Residence of First Listed Defendant Allegheny County
                                                                                                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                           (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                                NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE LAND INVOLVED.


   (c) Attorneys                       David Lew, AUSA                                                                          Attorneys


   700 GRANT STREET, SUITE 4000, PITTSBURGH, PA 15219 (412) 894-7482
                            (Firm Name, Address, and Telephone N umber)                                                         Attorneys (If Known)

II. BASIS OF JURISDICTION                                  (Place an "X" in One Box Only)                        III. CITIZENSHIP OF PRINCIPAL PARTIES                                            (Place an "X" in O ne Box for Plaintiff
                                                                                                                          (For Diversity Cases Only)                                         and One Box for Defendant)

    1      U.S. Government                     3 Federal Question                                                                                      PTF           DEF                                               PTF DEF

               Plaintiff                                 (U.S. Government Not a Party)                              Citizen of This State                    1          1        Incorporated or Principal Place              4             4
                                                                                                                                                                                 of Business In This State

    2      U.S. Government                     4 Diversity                                                          Citizen of Another State                 2           2       Incorporated and Principal Place             5             5
               Defendant                                                                                                                                                            of Business In Another State
                                                         (Indicate Citizenship of Parties in Item III)
                                                                                                                    Citizen or Subject of a
                                                                                                                                                             3          3        Foreign Nation                               6             6
                                                                                                                      Foreign Country

IV. NATURE OF SUIT                          (Place an "X" in One Box Only)
              CONTRACT                                                      TORTS                                   FORFEITURE/PENALTY                                 BANKRUPTCY                             OTHER STATUTES

         110 Insurance                      PERSONAL INJURY                       PERSONAL INJURY                         610 Agriculture                           422 Appeal 28 USC 158                  400 State Reapportionment
         120 M arine                             310 Airplane                          362 Personal Injury -              620 Other Food & Drug                     423 Withdrawal                         410 Antitrust
         130 Miller Act                          315 Airplane Product                    Med. Malpractice                 625 Drug Related Seizure                    28 USC 157                           430 Banks and Banking
         140 Negotiable Instrument                 Liability                          365 Personal Injury -                 of Property 21 USC 881                                                         450 Commerce
                                                                                                                                                                  PROPERTY RIGHTS
                                                 320 Assault, Libel &                    Product Liability                630 Liquor Laws                                                                   460 Deportation
         150 Recovery of Overpayment
          & Enforcement of Judgment                Slander                              368 Asbestos Personal             640 R.R. & Truck                           820 Copyrights                        470 Racketeer Influenced and
         151 Medicare Act                       330 Federal Employers'                   Injury Product                   650 Airline Regs.                                                                   Corrupt Organizations
                                                                                                                                                                    830 Patent
         152 Recovery of Defaulted                 Liability                             Liability                        660 Occupational                                                                  480 Consumer Credit
          Student Loans                         340 M arine                       PERSONAL PROPERTY                         Safety/Health                           840 Trademark                           490 Cable/Sat TV
          (Excl. Veterans)                       345 Marine Product                  370 Other Fraud                      690 Other                                                                         810 Selective Service
         153 Recovery of Overpayment             Liability                            371 Truth in Lending                        LABOR                           SOCIAL SECURITY                           850 Securities/Commodities/
           of Veteran's Benefits                  350 M otor Vehicle                  380 Other Personal                  710 Fair Labor Standards                  861 HIA (1395ff)                          Exchange
         160 Stockholders' Suits                  355 M otor Vehicle                     Property Damage                    Act                                    862 Black Lung (923)                     875 Customer Challenge
         190 Other Contract                         Product Liability                 385 Property Damage                 720 Labor/Mgmt. Relations                  863 DIW C/DIWW (405(g))                  12 USC 3410
         195 Contract Product Liability          360 Other Personal                      Product Liability                730 Labor/Mgmt.Reporting                  ? 864 SSID Title XVI                   890 Other Statutory Actions
         196 Franchise                              Injury                                                                  & Disclosure Act                        865 RSI (405(g))                       891 Agricultural Acts
        REAL PROPERTY                             CIVIL RIGHTS                      PRISONER PETITIONS                    740 Railway Labor Act                   FEDERAL TAX SUITS                        892 Economic Stabilization Act
          210 Land Condemnation                  441 Voting                              510 Motions to Vacate            790 Other Labor Litigation                870 Taxes (U .S. Plaintiff             893 Environmental Matters
         220 Foreclosure                         442 Employment                            Sentence                       791 Empl. Ret. Inc.                        or Defendant)                         894 Energy Allocation Act
         230 Rent Lease & Ejectment                                                    Habeas Corpus:                       Security Act                            871 IRS-Third Party                    895 Freedom of Information
                                                443 Housing/                                                                                                                                                 Act
         240 Torts to Land                         Accommodations                       530 General                                                                  26 USC 7609
         245 Tort Product Liability             444 Welfare                             535 Death Penalty                                                                                                   900Appeal of Fee Determination
         290 All Other Real Property            445 Amer. w/Disabilities -              540 Mandamus & Other
                                                                                                                                                                                                              Under Equal Access
                                                    Employment                                                                                                                                                to Justice
                                                                                        550 Civil Rights
                                                446 Amer. w/Disabilities -                                                                                                                                  950 Constitutionality of
                                                    Other                               555 Prison Condition                                                                                                  State Statutes
                                                440 Other Civil Rights


V. ORIGIN                         (Place an "X" in One Box Only)                                                                                   Transferred from                     Multidistrict
                                                                                                                                                                                                                       Appeal to District
                                                                                Remanded from                                                                                       6                                  Judge from
         1 Original                    2 Removed from                         3                                   4 Reinstated
                                                                                                                    Reopened
                                                                                                                               or               5 another district
                                                                                                                                                                                        Litigation                  7 Magistrate
           Proceeding                    State Court                            Appellate Court                                                    (specify)
                                                                                                                                                                                                                       Judgment
                                                                                                                                                                                             Title 21 USC Section 881(a)(6)
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION
                                           Brief description of cause: Forfeiture of proceeds related to drug trafficking

VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                                                                                           CHECK YES only if demanded in complaint:
                                                   UNDER F.R.C.P. 23                                                 DEMAND $
     COMPLAINT:                                                                                                                                                              JURY DEMAND:          Yes        No
VIII.         RELATED             CASE(S)             (See instructions):
          IF ANY                                                                    JUDGE                                                                        DOCKET NUMBER


 DATE               12/01/2020                                                      SIGNATURE OF ATTORNEY OF RECORD              /s/ David Lew           DAVID LEW, Assistant U.S. Attorney

FOR OFFICE USE ONLY



    RECEIPT #                             AMOUNT                                           APPLYING IFP                                         JUDGE                                    MAG. JUDGE
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                                             JS 44AREVISED OCTOBER, 1993

     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                              THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A
This case belongs on the        Erie                   Johnstown                   Pittsburgh) calendar.
1. ERIE CALENDAR - If cause of action arose in the counties of Crawford, Elk, Erie, Forest, McKean. Venang
         or Warren, OR any plaintiff or defendant resides in one of said counties.
2. JOHNSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair, Cambria, Clearfield or
Somerset OR any plaintiff or defendant resides in one of said counties.

3. Complete if on ERIE CALENDAR: I certify that the cause of action arose in                                              County and
            that the                                               resides in                                             County.
4. Complete if on JOHNSTOWN CALENDAR: I certify that the cause of action arose in                                              County

     and that the                                                 resides in                                             County.

PART       B     (You    are to check ONE        of     the   following)
                       .
1.             This case is related to Number                              Judge
2.     This case is not related to a pending or terminated case.
DEFINITIONS OF RELATED CASES:
CIVIL: Civil cases are deemed related when a case filed relates to property included in another suit or involves the
same issues of fact or it grows out of the same transactions as another suit or involves the validity or infringement
of a patent involved in another suit
EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership groups which will
lend themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS & CIVIL RIGHTS: All habeas corpus petitions filed by the same individual shall be deemed
related. All pro se Civil Rights actions by the same individual shall be deemed related.
PARTC
1. CIVIL       CATEGORY        (Place x in only applicable category).
     1.              Antitrust and Securities Act Cases
     2.              Labor-Management Relations
     3.              Habeas Corpus
     4.              Civil Rights
      5.             Patent, Copyright, and Trademark
     6.              Eminent Domain
      7.             All other federal question cases
      8.             All personal and property damage tort cases, including maritime, FELA, Jones Act, Motor
                     vehicle, products liability, assault, defamation, malicious prosecution, and false arrest
      9.             Insurance indemnity, contract and other diversity cases.
     10.             Government       Collection Cases (shall include HEW Student Loans (Education),
                     VA Overpayment,      Overpayment of Social Security, Enlistment Overpayment (Army, Navy, etc.),
                     HUD Loans, GAO Loans (Misc. Types), Mortgage Foreclosures, S.BA. Loans, Civil Penalties and
                     Coal Mine Penalty and Reclamation Fees.)


       I certify that to the best of my knowledge the entries on this Case Designation Sheet are true and correct

  DATE           12/01/2020              ATTORNEY ATTORNEY AT LAW /s/              David Lew   DAVID LEW, Assistant U.S. Attorney


 NOTE:   ALL            SECTIONS     OF BOTH SIDES MUST BE COMPLETED BEFORE CASE CAN BE
 PROCESSED.
JS 44 Reverse (Rev. 11/04)   Case 2:20-cv-01859-CB Document 1-1 Filed 12/01/20 Page 3 of 3

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                        Authority For Civil Cover Sheet
         The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading
         or as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States
other papers
in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover
sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.     (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a
agency,government
        use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first
the agency and then the official, giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff
resides at the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing.
(NOTE: In land condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
       (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an
attachment, noting in this section "(see
attachment)".
       Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings.
II.
Place an "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included
here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an
amendment to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or
defendant code takes precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated
        above.
Mark this  section for each principal party.
IV.     Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section
        VI sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause
below, is
fits more than one nature of suit, select the most definitive.
V.      Origin. Place an "X" in one of the seven boxes.

Original     Proceedings.        (1)      Cases       which     originate     in     the        United      States       district      courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the
filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section
1407. When this box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's
decision.
        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
VI.
jurisdictional statutes unless                              Example:            U.S. Civil Statute: 47 USC 553
diversity.                                       Brief Description: Unauthorized reception of cable
                                                 service
VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary
injunction.

Jury    Demand.     Check     the    appropriate     box      to   indicate   whether     or     not     a    jury    is  being    demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the
docket numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover
sheet.
